Case 14-31921-KRH                Doc 20      Filed 04/26/16 Entered 04/26/16 16:41:59       Desc Main
                                            Document      Page 1 of 3



                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division

In re: Willie Rudolph Jones                             ) Case No.: 14-31921-KRH
       Janet Alberta Straus-Jones                       )
                                                        ) Chapter 13
                   Debtor.                              )
                                                        )
                                                        )

                                       MOTION TO SUBSTITUTE COUNSEL

         PLEASE TAKE NOTICE: Willie Rudolph Jones, one of the debtors in this case, has

filed with the Court a motion to substitute counsel, the motion being more particularly described

below.

         Your rights may be affected. You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. If you do not have an

attorney, you may wish to consult one.

         If you do not want the Court to grant relief sought in the Objection, or if you want the

Court to consider your views on the Objection, then you or your attorney must on or before

seven (7) days after service of this Motion:

        •         File with the Court, at the address shown below, a written request for a
                  hearing. If you mail your request to the Court for filing, you must mail it
                  early enough so the Court will receive it on or before the date stated above.

                                         United States Bankruptcy Court
                                           Eastern District of Virginia
                                          701 E. Broad St., Room 4000
                                           Richmond, Virginia 23219

                  You must also mail a copy to:

                                        Brett Alexander Zwerdling, Esquire
                                         Zwerdling, Oppleman & Adams
                                              5020 Monument Avenue
Counsel for Debtor
Brett Alexander Zwerdling, VBN 39569
Zwerdling, Oppleman & Adams
5020 Monument Avenue
Richmond, VA 23230
(804) 355-5719 Fax (804) 355-1597
bzwerdling@zandolaw.com
Case 14-31921-KRH         Doc 20     Filed 04/26/16 Entered 04/26/16 16:41:59              Desc Main
                                    Document      Page 2 of 3



                                    Richmond, Virginia 23230

      •       Attend any hearings to be set by the clerk of court at a later date
       If you or your attorney do not take these steps, the Court may decide that you do

not oppose the relief sought in the Motion and may enter an Order granting that relief.

                                              MOTION

       Comes now Willie Rudolph Jones ONLY (one of the debtors in this case), by proposed

substitute counsel, and for his motion to substitute counsel, the Court being advised that Debtor

is desirous of bifurcating this case, that Debtor is desirous of employing Zwerdling, Oppleman

and Adams to affect said bifurcation, that current counsel of record in this case is Boleman Law

Firm, P.C., and that it is the Debtor’s belief that he has been paid in full for all services rendered

within this Chapter 13;

       WHEREFORE, your Debtor prays that Zwerdling, Oppleman and Adams be substituted

as counsel of record in place of the Boleman Law Firm, P.C.


                                               Willie Rudolph Jones

                                               /s/ Brett Alexander Zwerdling
                                                       Counsel

                                        Certificate of Service

       I hereby certify that on April 26, 2016 a true copy of the foregoing was mailed by first
class U.S. mail, or electronically served, upon the following:

Carl M. Bates, Chapter 13 Trustee                   The Boleman Firm, P.C.
P.O. Box 1819                                       P.O. Box 11588
Richmond, VA 23218                                  Richmond, VA 23230-1588

Office of the U. S. Trustee                         Janet Alberta Staus-Jones
701 E. Broad St., Room 4304                         503 Pleasant Street
Richmond, VA 23219                                  Ashland, VA 23005
Case 14-31921-KRH   Doc 20    Filed 04/26/16 Entered 04/26/16 16:41:59   Desc Main
                             Document      Page 3 of 3



                                     /s/ Brett Alexander Zwerdling
